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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 BROIDY CAPITAL MANAGEMENT, LLC,
 and ELLIOTT BROIDY,

                     Plaintiffs,

               —v.—                                       Civil Action No. 1:19-cv-00150-DLF

 NICOLAS D. MUZIN,
 JOSEPH ALLAHAM,
 GREGORY HOWARD, and
 STONINGTON STRATEGIES, LLC,

                    Defendants.


                               PLAINTIFFS’ STATUS REPORT

       Plaintiffs Elliott Broidy and Broidy Capital Management, LLC file this status report to

notify the Court that Defendants failed to Answer the operative Complaint on or before May 1,

2020, as ordered by the Court in its April 8, 2020 minute order.

       On April 27, 2020, Defendants filed a notice of appeal from this Court’s order of March

31, 2020. Defendants contend that the March 31 order was a “collateral order” and that their

notice of appeal thus divests this Court of jurisdiction. Defendants are wrong because the March

31 order does not satisfy the standards of the collateral order doctrine. Indeed, on May 1, 2020,

the D.C. Circuit issued an order requiring Defendants to show cause why their appeal should not

be dismissed for lack of jurisdiction. Because Defendants did not procure a stay pending appeal

from this Court or the Court of Appeals, they are in default. See Fed. R. Civ. P. 55.

       Nonetheless, in light of the D.C. Circuit’s May 1 order, Plaintiffs are not moving for a

default at this time. Since the D.C. Circuit has, on its own motion, taken up the issue of

jurisdiction, judicial efficiency and the critical need for expedition here suggest that the issue
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proceed only in that Court. But should circumstances change, Plaintiffs reserve their rights to

seek relief in this Court, which retains jurisdiction notwithstanding Defendants’ defective notice

of appeal.

Dated: May 6, 2020                                   Respectfully submitted,

                                                     /s/ Filiberto Agusti
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                                                     Counsel for Plaintiffs Broidy Capital
                                                     Management, LLC and Elliott Broidy
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on May 6, 2020, I electronically filed the foregoing by using the

Court’s CM/ECF system to all counsel and parties receiving electronic notice of pleadings filed

in this case.

                                                      /s/ Filiberto Agusti
                                                      Filiberto Agusti
